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               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

In re:                                  )       Chapter 11
                                        )
YELLOW CORPORATION, et al.,             )       Case No. 23-11069 (CTG)
                                        )       (Jointly Administered)
               Debtors.                 )       Hearing Date: January 22, 2023 @ 2:00 p.m.
                                        )       Objection Deadline: January 15, 2024 @ 4:00 p.m.



              MOTION OF YELIMAR KARINA SIRA MONSALVE
                       FOR RELIEF FROM STAY

         Yelimar Karina Sira Monsalve, individually and as the guardian of A. S.

(“Monsalve” or “Movant”), by and through her undersigned counsel, hereby files

this Motion, pursuant to section 362(d) of the United States Code, 11 U.S.C. §§

101-1532 (the “Bankruptcy Code”), Rule 4001 of the Federal Rules of Bankruptcy

Procedure and Local Rule 4001-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware, for

an entry of an order which relieves Monsalve from the automatic stay to allow a

pending action, defined below as the Monsalve Action, to proceed against the

Debtors and to collect any award against any available insurance proceeds related

to Movant’s pending personal injury action. In support of the Motion, Movant

respectfully states as follows:




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                          JURISDICTION AND VENUE

        1.    This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§

157 and 1334. Venue of this Motion in this district is proper pursuant to 28 U.S.C.

§§1408 and 1409. This Motion is a core proceeding pursuant to 28 U.S.C.

§157(b)(2)(G).

                                     BACKGROUND

     A. Monsalve Action

        2.    On March 18, 2023, Monsalve filed a lawsuit, on behalf of herself and

her minor daughter, against Juan Jose Puntriano and YRC, Inc (the “Monsalve

Action”)1. The Monsalve Action is venued in Osceola County Florida and the case

number is 2023 CA 000843 AN.

        3.    The Monsalve Action arose after Monsalve and her minor daughter

were injured in a car accident on June 14, 2021. The other vehicle involved in the

accident was driven by an agent, servant, or employee of the Debtors.

        4.    In the Monsalve Action, Monsalve seeks compensation for, but not

limited to, her and her daughter’s injuries and pain sustained in the accident.

     B. Bankruptcy Action

        5.    On August 6, 2023 and August 7, 2023 (the “Petition Date”), Debtor

and its affiliates commenced a voluntary case under chapter 11 of title 11 of the


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    The Complaint can be supplied upon request.
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United States Code (the “Bankruptcy Code”) in the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”).

      6.     On the Petition Date, the automatic stay imposed by section 362 of the

Bankruptcy Code came into effect and stayed certain actions against the Debtors.

      7.     Upon information and belief, the Debtor possesses insurance policies

applicable to Movant’s personal injury claims.

                             RELIEF REQUESTED

      8.     Through this Motion, Movant seeks the entry of an order pursuant to

pursuant to Section 362(d) of the Bankruptcy Code and 4001 of the Federal Rules

of Bankruptcy Procedure, granting so that he may pursue her claims against the

Debtor to judgment and satisfy any award or other resolution he may obtain against

the Debtor from proceeds of any applicable insurance proceeds.

                      BASIS FOR RELIEF REQUESTED

      9.     Monsalve is entitled to relief from the stay under section 362(d)

of the Bankruptcy Code. It provides for relief from the injunction if a creditor can

show cause, or establish that the debtor has no equity in the property and that the

property is not necessary for an effective reorganization. See, e.g., Nazareth

National Bank v. Trina-Dee, Inc., 731 F.2d 170, 171 (3rd Cir. 1984). Therefore,

relief from stay is appropriate under section 362(d)(1) of the Bankruptcy Code.




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Monsalve is Entitled to Relief from the Stay Under Section 362(d) of the
Bankruptcy Code

      10.      Monsalve is entitled to relief from the stay under section

362(d)(1) of the Bankruptcy Code. Subsection (d)(1) of section 362 provides:

      (d) On request of a party in interest and after notice and a hearing, the
      court shall grant relief from the stay provided under subsection (a) of
      this section, such as by terminating, annulling, modifying, or
      conditioning such stay...
      (1) for cause, including lack of adequate protection of an interest in
      property of such party in interest

      11.    The Bankruptcy Code does not define what constitutes “cause”.

Instead, cause is determined by the courts on a case-by-case basis. In re Rexene

Products Co., 141 B.F. 574, 576 (Bankr. D. Del. 1992) (“Rexene”) (citing In re

Fernstrom Storage and Van Co., 938 F.2d 731, 735 (7th Cir. 1991)). The Third

Circuit has said that courts should consider the “totality of the circumstances” to

determine whether cause exists for relief from the stay. Baldino v. Wilson (In re

Wilson), 116 F.3d 87, 90 (3d Cir. 1997).

      12.    Under the totality of the circumstances analysis, courts consider the

hardship or prejudice to the non-debtor when determining whether to lift the stay.

See Atlantic Marine, Inc. v. American Classic Voyages, Co., 298 B.R.222, 225 (D.

Del. 2003); Matter of Pursuit Athletic Footwear, Inc., 193 B.R. 713,718 (Bankt. D.

Del. 1996); In re Block Laundry Machine, Co., 37 B.R. 564,566 (Bankt. N.D. Ohio




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1984) (“Courts have developed a balancing test, whereby the interest of the estate

are weighed against the hardships that will be incurred by the creditor-plaintiff”).

      13.    Here, “cause” exists to grant Monsalve relief from stay. Granting such

relief to Monsalve will not prejudice the Debtor given that Monsalve can recover

portions, if not all of her relief, from insurance held by the Debtor.

      14.     If the requested relief were not granted, Monsalve would be

prejudiced. Monsalve requires compensation to cover the out-of-pocket expenses,

past medical expenses, and future medical expenses as a result of her and

daughter’s personal injuries.

      15.     Monsalve believes that relief from the stay is appropriate given that

all or some of the compensation for her personal injuries can be paid to her through

the Debtors’ insurance coverage.

      WHEREFORE, for the forgoing reasons, Movant respectfully requests the

entry of an order, substantially in the form of the proposed order attached hereto,

lifting the stay imposed by section of the Bankruptcy Code to allow Movant to

continue the prosecution of the Monsalve Action to final judgment and granting




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such other and further relief as this Court deems just and proper.

Date: December 21, 2023         THE POWELL FIRM, LLC

                                 /s/ Jason C. Powell
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